Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 1 of 10
 

Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 2 of 10

S. SULLIVAN

2

2/24/22

 

 

Commonwealth of Massachusetts
Department of Children and Families*

Child Abuse/Neglect
Emergency Response

 

 

 

 

 

 

 

 

 

 

Response Information
Response Sullivan - 2055713 Case Sullivan - 3713529
Emergency Response Worker David Skutul - Arlington Intake B
Due date 10/31/2018
Decision Unsupported Status Approved - 11/05/2018
Disposition No Services Required

 

Intake Information

 

 

 

 

 

 

 

 

 

 

 

 

 

    
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Intake ‘| Reporter : Report Date Screening Decision
Sullivan - 3891415 - Lee Tobey - 40/24/2018 - 01:56 PM Screened In: Emergency Response
51A Report Reporter(Mandated)
Persons
Name | Date of Birth-Age° ss | Roles(s)
Edward Sullivan -~ 48 Years Adult (In Home), Alleged Perpetrator
Heather Sullivan Gm - 44 Years Adult (in Home)
| QM Sullivan - 15 Years Reported Child (In Home)
| GP Sullivan QQimmyee - 12 Years Non-Reported Child (In Home)
| Qa Sullivan GQ - 7 Years Non-Reported Child (In Home)
QA Sullivan mae. 5 Years Non-Reported Child (In Home)
| Collaterals

 

 

Record Review

 

 

 

 

No previous DCF history to review.

 

Contacts / Interviews / Actions ©

 

Contact Method In Person Purpose Response Visit

Date and Time 40/24/2018 - 03:35 AM StaffPerson _ David Skutul

Contact With / Attempted Brendan Sullivan - Non-Reported Child (In Home)

Colin Sullivan - Non-Reported Child (In Home)

Details: | arrived at the Fisher School, prior to my arrival Det. Mike and two additional officers were present waiting with
Qe dS | utilized the principal's office where Det. Mike sat in on the interviews. | first met within. iz.
presented as happy and smiling. | explained my role to him and wanted to know more about his family. | asked about his
home. | asked where he sleeps, he said that he shares a room with his sister >. lL asked how they share a room, he

 

 

 

 

 

 

 

 

* Revised February 2016 Printed 03/12/19 09:13 AM
4

CMSABD [51B Response]
Sullivan, et al. v. Walpole, et al. , D000168

 
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 3 of 10

 

said that he has a whole bunk bed to himself and she has another bed next to him. | asked if he sleeps on the top bunk or
the bottom, he said both. | asked if can remember which bunk he slept in last night, he said the bottom. | asked how did
he know he slept on the bottom bunk last night, he said because the top bunk did not have any blankets and the bottom
one did. | asked if he remembers if he fell or jumped on his sister last night or this morning, he said he did not. | asked if
he dropped anything on her last night or this morning, he said no. | asked if he has ever dropped anything on her, he
laughed and said sometimes he drops pillows on her and pretends it is an accident.
| asked if he had seen any marks, bruises or boo-boo's on @§if}'s face this morning, he said, “Maybe”. | asked if
he knew how she got the boo-boo, he said maybe from football.
I asked gt what happens when they get in trouble, he said that he gets sent to his room. | asked if anyone ever gets
spanked or hit, he said only if it is something really bad. | asked what would be really bad. He said hitting someone. |
asked if he has ever seen (ie get spanked or hit, he said "no, not since he was born”. | asked in seven years, he has
never seen @RIRB® get hit, he said seven and half years! | asked if he has ever seen anyone ever get hit, he said maybe
Gee and i. He said he remembers iia getting spanked on the “butt” by dad. | asked how dad spanked him,
he said with his hand.
| asked (ito explain safe to me, he could not nor did he provide an understanding. | asked if he is ever worried or
scared at home, he said no. | asked if he is ever scared of mommy or daddy, he said no.
| talked with Mi about the Red Sox as he was wearing a Red Sox t-shirt, | asked if he stayed up to watch the game last
night, he said that he watched until 1000PM.

as fair skinned and free from any visible marks or bruises.

| then met with dim. | explained my role to him and wanted to make sure that he and his siblings were safe. He said

that he is safe. | asked him what safe means to him, he said like looking both ways before crossing the road. | asked him

about his morning routine, | asked what he does in the morning, he said after waking up and geiting ready he goes to a

babysitter before going to the bus stop.

| asked what happens when they get in trouble, he said that father talks to them. | asked if he has ever seen or heard

anyone argue or yell, he said that both @il—i® and @iligwere swearing and yelling at one another this morning. | asked if

his father was there when this was happening, he said no he leaves for work early, mother was home.

| asked if he ever saw a boo-boo on SMe face last night, he said no. | asked if he had any idea how his sister got a

boo-boo on her face, he said she must have got it at school. | asked if he has ever been spanked/hit before, he said no.
Wiles was able to distinguish between truth and lie and said that everything that he just told me was the truth.

| IMEEEBGpresented happy and engaging saying that he has had fun today playing checkers in the office.

te

 

Contact Niethod In Person’ Purpose Response Visit

 

 

Date and Time 10/24/2018 - 02:45 PM Staff Person David Skutul

 

 

Contact With/ Attempted | WNERIRRMR Reported Child (In Home)
Lee Tobey - Reporter (Mandated)

 

 

Details: Due to the emergency response, | visited Walpole High School to meet with victim, ile Sullivan. When |
arrived, | first met with vice principal Lee Tobey. In her office was several Walpole Detectives. Det. Mike Benner was the
lead as he was already updated and in contact with the DA's office Suzie McDermott (whom | spoke with as well). Ms.
Tobey advised that after receiving the statement from Sig's friend that father had hit her, © has since told her |
that her brother had fallen off a bunk bed this morning and that was the cause of the injury. | asked if the family has been
living in Walpole for a period of time as there was a report that Gili had mentioned that they had been in foster care
| before, but the Department does not have any record of this. Lee Tobey said thai has been in their system since
kindergarten. | asked if §ijlgehas an IEP or any conduct history, she said no IEP and history of conduct issues.
as a significant nurses record where she has seen the nurse for anxiety. | asked Lee to show me a picture of
rior to meeting with her so that | have a baseline for the alleged marks. Lee used the picture assigned to

@SSMB in the school data base.

| asked to speak with MB. who was across the hall with one of her football coaches (as well as Walpole police officer).
came to Lee's office where Lee and Det. Mike stayed. When Wi entered the room, | immediately saw a

| larger bruise on her right cheek bone. The bruise was red and blue. | explained my role toda and asked her if she
knew why | was there. She said that people think that her family is hurting her, but they are not, | explained to her that |
can clearly see an injury on her face and wanted to know how this happened. She said that her brother has a bunk bed
and does weird stuff on the top bunk and had dropped down on her as well as calising the water bottle to fall on her. |

 

 

 

* Revised February 2016 Printed 03/12/18 09:13 AM

CM5ABD [51B Response] . 2
- Sullivan, et al. v. Walpole, et al. Do000169
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 4 of 10

 

asked if she could move her hair to expose the left side of her face, which she did. ‘I noticed a mark on the left cheek
bone, not as pronounced as the right but a lighter bruise. | explained aaa that if her brother fell on her or the water
bottle, her nose would have taken the brunt of the impact and since her nose looks untouched, was there any other way
she thinks that the marks on her face would have happened, she said no,

| asked who lives in the home with her. She said her mom, Heather, father Eddy, brother’ sii ( age 7) and

(age 5) and her sisteMiage 12). | asked which brother does she share a room with, she said her brother . She
explained that he has the whole bunk bed to himself, she has a separate twin bed. | asked who gets them up in the
morning, she said that she normally wakes up at 500AM as well as her mother and gets everyone up and ready. | asked
about her father, she said that he is out of the home by 600AM. | asked about who is home when they get home, she said
mom works until 615PM and dad gets home around 300PM. She said that she typically has football practice from 245PM
fo 500PM. | asked if she had practice yesterday, she said no and went right home after school. | asked who else was
home, she said no one for about an hour and half. She added that her sister got home around 245PM and dad around
330ish. | asked how she was home alone for an hour and half when sister came right home, she said that she was alone
in the basement. Mom got home around 630PM. | asked if there were any arguments last night, she said no. | asked
about any disagreements, she said no, nothing eventful happened. | asked what time she woke up this morning, she said
500AM , | asked if there were any arguments or issues this morning, she said no. | asked when did her brother fail on her
as well as the water bottle, she said last night. ,
| asked her about what forms of discipline are used in the home. She said she and her sister get her phone taken away
while her brothers get the iPad taken away. | asked if she was ever hit/spanked as a form of discipline, she said when she
was 6 but not since then. | asked if there was any other type of physical discipline in the home, she denied any form of

physical discipline. | asked who was in charge of discipline, she said mainly her father. | asked when the last time she
was punished for something, she said within the past two weeks due to grades. | asked what and why are they generally
punished, she said mainly school stuff.

| Lasked what safe meant to her, she said everything is okay, all the family is together. | asked if she feels safe at home,

she said yes. | asked if she feels that her siblings are safe at home, she said yes. | asked if there was ever a time where
she felt unsafe or worried at home, she said no. | asked about any worries about her family? She said that she gets

worried about her sisters bad grades and getting bullied at school for it as she does not have nice friends.

| asked giuiumiea? if she was dating or seeing anyone, she said no, just playing football. She said that she belongs to clubs
but no time for them during football.

| asked if she would feel safe going home tonight, she said yes.

| addressed a statement in the 51A that she was quoted as saying that she was in foster care before, she said that she

never remembers saying that and that she has never been in foster care but her cousins have.

| again addressed a concern that she had been seen a couple of weeks ago with a bruise on her face, she said that she

got hit in the face with a puck as she plays street hockey with her cousins. | asked if she had any other marks or bruises, |
she said no. She was wearing a long sleeve shirt, covering her arms, she was wearing shorts, no obvious marks or

bruises that signified abuse. | asked if | could take a picture of the marks on her face, she said no.

| spoke with DA's office Suzie McDermott to provide an update as well as Sup at DCF.

 

 

Contact Method In Person Purpose Response Visit

 

 

Date and Time 40/24/2018 - 04:30 PM Staff Person David Skutul

 

 

Contact With/ Attempted _'§EEENEMEMIAg - Non-Reported Child (In Home)
Details: After meeting with the children, | checked in with Det. Benner, he said that Ge was at a friend's home and
provided the address of 76 Broad St. Walpole. | advised that | was heading over there now and will call him with an

update.

home, a woman introduced herself as maternal grandmothe O'Reilly. | advised of the allegations and my
subsequent investigation. | explained that | needed to speak with . MGM said that she had picked @3iiiiBe up last
night after football and was at the home for dinner and did not see any marks on her face. MGM stated that she would
never believe that father or mother would ever hit their children and is she ever believed that they did, she would cali the
police, She had asked if she could be present for @&, | said that it was completely up to QRRIt she felt comfortable.

| arrived at the 76 Broad St address. When | arrived, a group of ae 0 were outside the home. As | approached the

 

 

 

* Revised February 2016 : Printed 03/12/19 09:13 AM

CMS5ABD [51B Response] . 3
Sullivan, et al. v. Walpole, et al. D000170
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 5 of 10

 

lz came over and was comfortable talking with me without MGM present but MGM was at her car parked in front of
mine where | spoke with oe. t asked if she knew why | was there, she said no. | advised that there were marks on her
sister's face and | don’t know how it happened. | asked her if she saw any marks on her face last night or this morning,
she said no. | asked if she and her sister were arguing this morning, she said no. | asked her if@@igige was dating
anyone, she said that she was in August but not anymore. | asked her if father has ever hit/spanked them, she said no. |
asked if mother ever spank/hit them, @Piaughed and said no. | asked what happens when they get In trouble, she said
that they get their phones taken away and her brother's get a time out.

= knew what safe means and reported that she feels safe at home and with both parents. | asked if she has ever been
afraid of her parents, she said not at all. | asked if she has ever seen her sister get in arguments with parents, she said
yes about grades. | asked if the arguments ever got physical, she again said no.

was engaging and free from any visible marks or bruises. After talking with ex, MGM asked if she could take -

home with her, | told her that | have no issues with this. MGM provided her address as 28 Canvasback Way Walpole and
her number

 

 

Contact Method In Person Purpose Response Visit

 

 

Date and Time 10/24/2018 - 05:15 PM Staff Person David Skutul

 

Contact With / Attempted Edward Sullivan - Alleged Perpetrator, Adult (In Home)
Heather Sullivan - Adult (in Home)

 

 

Details: | arrived at Walpole Police station. When I arrived, father was already in an interview room talking with an officer
and Det. Mike. | could not hear the interview in full. | was able to hear father deny hitting his children. Father also offered
that he got an "odd" text from SIENNA focay about moving the beds d&% tod falling on her. Father's cell phone was
retrieved and father pulled the text which came at 100PM.
Also the friend who had reported that iil had disclosed that her father hit her came to the police station to verify what
was told to her. | was not privy to that conversation but was told that the friend was consistent with the initial report.

| called Sup Rafael to provide an update.

As | was waiting in the police station, | was advised by a police Det, that father was under arrest and mother is on her way
to the police station. | called MGM at 540PM and asked if she could pick the boys up from school and bring them to her
house, she said that she will. MGM provided mgther's cell number 9 eS aati?

Police had arranged for a female officer to pick up from the school and bring her to MGM's home.

545PM, mother and her attorney George Hardiman arrived in the lobby. | was asked by police to allow them to speak with
mother first.

After the police has an opportunity to speak with mother and her attorney, | was allowed to meet with them. | introduced
myself to mother and attorney. Mother was concerned about the children. | reported that all the children have been
arranged to go to MGM's home as MGM picked Wjjjpand the boys up and a female officer is transporting her to MGM's
home. | told mother about the 51A allegations and was asking if mother had seen any marks or bruises last night or this
morning, her attorney told her not to answer. Mother said that she wanted to go to see the kids, | asked if | could ask a
couple more questions that has nothing to do with parents, her attorney said no and mother left. | told the attorney
Hardiman that the Department needs to see the home and for him to call his client and coordinate that. | also want to ask
mother if she is aware if her daughter was seeing/dating anyone and if her daughter is self-injurious. Attorney Hardiman
called his client and coordinated with mother to meet us at the family home at 165 Kendall St.

 

 

Contact Method In Person Purpose Response Visit

 

 

Date and Time 10/24/2018 - 06:30.PM Staff Person _ David Skutul

 

Contact With / Attempted | Heather Sullivan - Adult (In Home)

 

Details: After arriving to the home, | called Sup Rafael to provide an update.
Mother arrived a short time later and allowed us (attorney Hardiman and myself) access to the home. The home had
sufficient food for the family. | was then allowed to see the bedrooms, in“S@liiigeand @ikg 00m, there was a bunk bed
against the wall with a twin bed at the bottom of the footboard. | also observed the top bunk to only have sheets on the
bed while x bottom bunk had a pillow and blankets. Mother also pointed out a large, white, metal water bottle that was

 

 

 

 

 

bed. Mother put the water bottle on the dresser by the door. | held the water bottle as it was semi-full and
* Revised February 2016 Printed 03/12/19 09:13 AM
CMS5ABD [51B Response]

4
Sullivan, et al. v. Walpole, et al. DO000171
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 6 of 10

 

heavy. | also observed the other bedroom for the children, which was appropriate
Attorney allowed mother to answer the two questions about any relationship tha

mwas in, she said that she was in

a relationship in August but that had ended, he was a good kid. Mother deniecalliijiig being self-injurious.

 

 

 

 

 

 

Contact Method Call to Purpose Obtain/Provide information
Date and Time 10/25/2018 - 12:30 PM StaffPerson —_ David Skutul
Contact With / Attempted Edward Sullivan - Alleged Perpetrator,Adult (in Home)

 

Heather Sullivan - Adult (In Home)

 

Details: Called father, | explained the 51A allegations to him. | told father that | was aware of the current charges and | will
not ask anything specific to the incident. Father said that he does not hit his children and would never hit his children. |

asked him why he believes that there is a report tha
Mother was also on the line as | was on speakerphone. Mother denied seeing any injuries on

before or in the brief time she had seen her in the morning. | asked her if

altercation. | asked mother why
Mother also said that she will be bringing her to the pediatrician this afternoon.

would have said that he did, he said that he did not know.

face the night

and her sister got into a physical
was not in school today, she said that she went to court with them this morning.
Mother provided Dr. Cone at Walpole

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pediatrics.

Contact Method E-mail from Purpose Law Enforcement Check
Date and Time 10/25/2018 - 07:25 PM Staff Person David Skutul

Contact With/ Attempted _|

Details: Received copies of the police reports. (uploaded)

Contact Method Call to Purpose Obtain/Provide Information
Date and Time 10/25/2018 - 01:45 PM Staff Person David Skutul

Contact With / Attempted | Lee Tobey - Reporter (Mandated)

Details: Called reporter to provide an update.

Contact Method Call to Purpose Obtain/Provide Information
Date and Time 40/26/2018 - 01:03 PM Staff Person David Skutul

Contact With/ Attempted _|

 

Details: Called Walpole Pediatrics and spoke with Erica who confirmed that mother brought GHEMBe in yesterday to see
the doctor. After reviewing the notes, doctor only documented a bruise on the right cheek bone, nothing noted about the

In the notes doctor reported to have taken pictures o

_| feft. Both doctor and mother questioned the child's discontinued use of accutane to be a possible cause of easy bruising.
| asked if pictures were taken of the jeft cheek bone, Erica

| said that she did not know and the doctor who saw her is off until Monday and will check in with her. Also noted was no
evidence of abuse and child reported that the water bottle fell on her and/or her brother stepped/fell on her.

 

 

 

 

 

Contact Method In Person Purpose - DCF Legal Consult
Date and Time . 40/31/2018 - 10:30 AM Staff Person David Skutul
Contact With / Attempted |

 

Details: | met with Attorney Martin for a legal review; | presented the case and subsequent findings. Attorney Martin
recommended that the Department review parents CORI when returned, check for any police responses to the family
home, call the children's pediatrician to ensure that all the children are up to date and check if they had been seen for any
injuries in the past and call the school and talk with someone who knows to see if there were any prior concerns
as weil as to see if she has talked with them since the allegation.

 

 

 

 

 

 

Contact Method Call to Purpose Obtain/Provide information
Date and Time 10/31/2018 - 10:57 AM StaffPerson David Skutul

* Revised February 2016 Printed 03/12/19 09:13 AM
CMS5ABD [51B Response]

Sullivan, et al. v. Walpole, et al.

D000172

 

 

 
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 7 of 10

 

Contact With/ Attempted —_|

 

Details: Called Walpole Pedi 508-668-2200 for an update both Erica and the doctor who had seen SMB are out of the
office. | asked if Dr. Cone her primary was available, he is in the office today and will call me back.

 

 

 

 

 

 

Contact Method Cail from Purpose Obtain/Provide information
Date and Time 10/31/2018 - 02:22 PM Staff Person — David Skutul
Contact With/ Attempted |

 

Details: Received call back from Casey at Walpole Pedi, she had spoken with Dr. Cone regarding the mark on the left
side of the face, after reviewing the record they determined that it was mascara not a bruise. | asked if the children are up
to date medically and if the children have ever been seen for an injury. After checking, Casey returned to report that all the
children are up to date medically with well visits and vaccinations and she checked with Dr. Cone, no visits due to injuries
as the doctor does not have any concerns.

 

 

 

 

 

 

 

Contact Method Call to — Purpose __ Obtain/Provide information
Date and Time 10/31/2018 - 02:30 PM Staff Person David Skutul
Contact With/ Attempted |

 

Details: Called Walpole High School and left v/m for Allison, @iPouidance counselor for a call back as | wanted to

 

 

know how she has been since the report and if there was anything else that was missing.

 

 

 

 

 

 

Contact Method Cail to Purpose Law Enforcement Check
Date and Time 10/31/2018 - 03:30 PM Staff Person _ David Skutul

Contact With/ Attempted —_ |

Details: Called Walpole Police for any previous activity at the home, no prior responses.

 

 

 

 

 

 

 

Contact Method In Person Purpose Response Visit
Date and Time 11/01/2018 - 09:30 AM Staff Person David Skutul
Contact With/ Attempted _| :
| Details: | revisited Walpole High School to speak with guidnace counselor Wilson regarding aaa has not
| met with her since the incidents and had rarely made contact with her prior. Ms. Wilson was aware of as kids

came to her last year worried that she has been cutting herself. Ms. Wilson did reach out to father and he said that he
would have her seen by the pediatrician. Ms. Wilson reported father’s demeanor as angry and confrontational. Other staff
has also conveyed this impression of him. Ms. Wilson reported that is not doing well academically. | asked
Ms.Wilson to check with the first period teacher, Ms. Swain to see if she remembers seeing any marks on her face that
morning. | also inquired into if the student who allegedly heard the disclosure was a close friend of , she said they
are in the same circle but not a close friend.

 

 

 

 

 

Contact Method In Person Purpose Supervision
Date and Time 11/02/2018 - 09:21 AM Staff Person Laura A. Rafael
Contact With/ Attempted —_|

 

EP what happened to her face.

face, Qi first didn't want to talk about it but then said
allowed to talk about it." The

 

* Revised February 2016
CMS5ABD [51B Response]

said someone in her family had hit her.

Sullivan, et al. v. Walpole, et al.

Details: Mandated Reporter alleging physical abuse of ie 'y her father, Mr. Edward Sullivan.

On 10/24/18, QE came into school with significant bruises on her cheek bones. At lunch one of her friends asked
Her friend noticed a few weeks ago and ongoing that Sib has had bruising. The
facial bruising was very concerning today according to the Reporter. Initially her friend asked <@@iilii@ what was on her

"| can't talk about it. This would destroy my family.” “I am not
Her friend asked who was that hit her. She

Printed 03/12/19 09:13 AM
6
D000173

 

 
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 8 of 10

 

admitted it was her father. Gliliimadmitted her father hit her in the face.

The friend then said | can't tell anyone, because "Gillie stated she was already in foster care, and she doesn't want her
family to be broken up." She also said she is the only one who gets hit <@lililiigp is concerned about her younger siblings.
She said, “It is really bad right now because | am doing bad in school." The friend offfilllike stated this was not the first
.time she has seen bruising ors face.

Ee then told the guidance counselor she got the bruise in football. Her friend says she sees Siiiigp with bruises
often. Simm said to her friend today, "It's ok, | just need to get through the next 3 years because | graduate and it is not
like he hits the other kids." This is the first time she has admitted her father has hit her.

An emergency response was initiated andl denied the allegations that father hit her to RW Skutul “QR said
that she shares a bedroom with her 7-year-oid brother, @, and his water bottle fell off the top bunk and hit her in the
face. When RW Skutul interviewed the other children, the children did not share any information to indicate that the injuries
were caused by any actions by father. Qj corroborated that he shares a bedroom with @IjIB—B, but he said that he did
not sleep on the top bunk the night prior when alleged the water bottle fell on her face. RW Skutul did confirm that
the head of bed is perpendicular vit a bed and that @iliRdid have a large metal water bottle in his bed.

Father was interviewed by the police as well as (RRR friend. GBI friend maintained the explanation tho
told her that her father hit her in the face. Father was arrested. He made bail and has not been arraigned as arraignment
has been delayed.

 

| CRD cid not allow RW Skutui to take pictures of the injuries.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| __ __ Allegations
Child Allegation Alleged Perpetrator Role Decision
Shawna Sullivan Physical Abuse Edward Sullivan Biological Father Unsupported
Comments:
Conclusion
Case Name & Id Sullivan - 3713529 DA Referral Made
Decision & Date Unsupported - 10/31/2018 Reasons:

 

 

Contributing / Risk Factors: | Domestic Violence

 

Based on information gathered during the response, assessment of parental capacities and findings of Risk
Assessment Tool provide a summary of:

 

Assessment of Danger and Risk:
Child was observed at school with bruising on both cheek bones. Child reportedly told a peer that her father had hit
her. :

 

Assessment of Existing Safety:
Due to the emergency response, the Department has been unable to assess the protective capacities.

 

immediate Actions: .
Parents need to refrain from using any forms of physical discipline.

 

Action Plan:
Due to the unknown explanation of the injury, parents may consider having ae see an individual therapist in case
something else is happening to her and she is afraid to disclose.

 

Disposition & Date __No Services Required - 10/31/2018

 

Disposition Comment: = 3 .
The allegation of PHYSICAL ABUSE of @§Bullivan (age 15) by her father, Edward Sullivan is UNSUPPORTED.

The Sullivan family became known to the Department for the first time on October 24, 2018 after a 51A was filed alleging
the physical abuse of ili Sullivan (age 15) by her father, Edward Sullivan. The report alleged that child had come to

 

 

 

* Revised February 2016 Printed 03/12/19 09:13 AM

CMBABD [51B Response] Sullivan, et al. v. Walpole, et al. " p000174
 

Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 9 of 10

school with significant bruises on her cheek bones. At lunch, one of her friends askedMliilaa what happened. Gimp
reported that she initially “did not want to talk about it, as this would destroy her family" and "she was not allowed to talk
about it". afllilimg reportedly said that someone in her family had hit her. Her friend asked who it was that hit her and
G@HEBRe admitted it was her dad. siifimamesaic that her father hither in the face. GH reported that "she is the only
one who gets hit". @RMIEililiis friend reported that this was not the first time she has seen bruising or EMD face.

The Department defines physical abuse as: “The non-accidental commission of any act by a caretaker upon a child under
age eighteen (18) which causes, or creates substantial risk of physical or emotional injury, or constitutes a sexual offense
under the laws of the Commonwealth or any sexual contact between a caretaker and a person under the care of that
individual. This definition is not dependent upon location (i.e. abuse can occur while the child is in an out-of-home or in-
home setting}.”

When the Department had arrived within an hour of receiving the report as this was an emergency response, GRE had
reported to her vice principal that she sustained the bruises from her brother falling off of the top bunk and falling on her.
When interviewed elite provided the same story as reported to school personnel but added that in addition to her
brother falling on her, a water bottle fell on her face as well. G@ljjjllip denied saying that her father hit her and denied any
physical discipline in the home, eii\reported feeling safe to return home and with her parents.

QE three siblings were interviewed separately and reported that they did not see any physical altercation involving
QM The three additional children also denied any physical discipline in the home. illlewho shares a bedroom with
@WBRand the reported child who fell on her from the top bunk said that he had slept on the bottom bunk the previous
night and does not remember falling or throwing anything on his sister.

Father had been detained by the Walpole police and subsequently arrested. While talking with the police, father denied
ever hitting his children. Father also provided a text message from his daughter at 100PM asking to move her bed away
from [Ee due to him falling on her causing a bruise. Father again denied hitting his children to the Department.
Mother had broughté@iililll to the pediatrician the next day, October 25th. ggililigmmvas observed by Walpole Pediatrics
to have a bruise on her right cheek bone only. Doctor also noted that there were “no evidence of abuse”. QE also
reported to the doctor that her brother and a water bottle had fallen on her.

The Department was allowed to see the family home. ins@iijiillie anc (glia room SBM has a twin bed that abuts the
footboard of the bunk bed. Also present was a half full, large metal, white water bottle that was to have allegedly fallen on
her.

Gigmmmewas consistent with her statement that her brother and Waiter bottle had fallen on her. The other siblings in the
home also reported that parents do not use physical discipline nor had they seen anything happen to their sister. All the
children, excepto due to him not being able to provide an understanding of what safe means, reported feeling safe at
home and with both parents.

Although @§EEBefriend reported that @illiesisclosed that her father had hit her and it is unlikely that her brother had
fallen on her, the Department cannot prove that father had caused the bruising on her face.

Risk Level: very low/minimai risk.

 

Supervisor Comment:
Supervisor agrees with decision to unsupport allegation of physical abuse.

Although it is concerning thats sustained bruising to her face and it is unclear as to how the injury was sustained,
the Department does not have enough evidence to support that the bruising was caused by any action taken by her father.
@@HEEMA) or her siblings, shared any information to indicate that there has been any type of physical altercation in the
home.

It is also concerning that iP has offered three varying explanations as to how she sustained the bruising, there does
not appear to be imminent risk tou@Ep safety at this time. @Ephas good school attendance and is active in
sports.

There are three other children in the home who did not offer any explanation as to hov™@ilillll sustained bruising to her
face. There are no reports from any mandated reporter stating that they observed the bruising on her face prior to this
information coming to their attention from Sigil: friend.

 

 

This is the family’s first involvement with DCF and the police.

* Revised February 2016 Printed 03/12/19 09:13 AM
CM5ABD [51B Response] . 8
Sullivan, et al. v. Walpole, et al. D000175
Case 1:20-cv-10484-GAO Document 66-6 Filed 11/01/22 Page 10 of 10

A legal consult was convened with DCF Attorney Leslie Martin on 10/31. Attorney Martin made recommendations, which

RW Skutul followed up on.

Discretionary DA referral has been made.

 

 

Title

Actual Approver

Date

 

Supervisor

Laura A. Rafael

11/05/2018 - 01:49 PM

 

 

Area Program Manager

 

Dolores J. Difillipo

 

11/05/2018 - 02:09 PM

 

* Revised February 2016
CMB5ABD [51B Response}

Sullivan, et al. v. Walpole, et al.

Printed 03/12/19 09:13 AM
9
D000176

 
